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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    COLUMBIA DIVISION

 Cierra Davis,                                                C/A No.: 3:20-cv-03799-MGL-SVH

                      Plaintiff,

 v.

 Richland County; Sheriff Leon Lott, in his                          CONFIDENTIALITY
 Official Capacity; Kyle Oliver, in his individual                       ORDER
 capacity; Casey Signorino; Jared Free; Michael
 Pearson; John Parker; and John Doe Deputies, in
 their respective individual capacities,

                     Defendants.



        Whereas, the parties to this Consent Confidentiality Order (“parties”), have stipulated that

certain discovery material is and should be treated as confidential, and have agreed to the terms of this

order; accordingly, it is this 10th day of November 2021, ORDERED:

        1.       Scope. All documents produced in the course of discovery, all responses to discovery

requests and all deposition testimony and deposition exhibits and any other materials which may be

subject to discovery (hereinafter collectively “documents”) shall be subject to this Order concerning

confidential information as set forth below.

        2.       Form and Timing of Designation. Confidential documents shall be so designated by

placing or affixing the word “CONFIDENTIAL” on the document in a manner which will not interfere

with the legibility of the document and which will permit complete removal of the Confidential

designation. Documents shall be designated CONFIDENTIAL prior to, or contemporaneously with,

the production or disclosure of the documents. Inadvertent or unintentional production of documents

without prior designation as confidential shall not be deemed a waiver, in whole or in part, of the right

to designate documents as confidential as otherwise allowed by this Order.




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        3.       Documents Which May be Designated Confidential. Any party may designate

documents as confidential but only after review of the documents by an attorney 1 who has, in good

faith, determined that the documents contain information protected from disclosure by statute, sensitive

personal information, trade secrets, or confidential research, development, or commercial information.

The certification shall be made concurrently with the disclosure of the documents, using the form

attached hereto at Attachment A which shall be executed subject to the standards of Rule 11 of the

South Carolina Rules of Civil Procedure. Information or documents which are available in the public

sector may not be designated as confidential.

        4.       Depositions. Portions of depositions shall be deemed confidential only if designated

as such when the deposition is taken or within seven business days after receipt of the transcript. Such

designation shall be specific as to the portions to be protected.

        5.       Protection of Confidential Material.

        a.       General Protections. Documents designated CONFIDENTIAL under this Order shall

        not be used or disclosed by the parties or counsel for the parties or any other persons identified

        below (¶ 5.b.) for any purposes whatsoever other than preparing for and conducting the

        litigation in which the documents were disclosed (including any appeal of that litigation). The

        parties shall not disclose documents designated as confidential to putative class members not

        named as plaintiffs in putative class litigation unless and until one or more classes have been

        certified.

        b.       Limited Third Party Disclosures. The parties and counsel for the parties shall not

        disclose or permit the disclosure of any documents designated CONFIDENTIAL under the



        1
                  The attorney who reviews the documents and certifies them to be CONFIDENTIAL must
be admitted to the Bar of at least one state but need not be admitted to practice in the State of South Carolina
and need not apply for pro hac vice admission. By signing the certification, counsel submits to the
jurisdiction of this court in regard to the certification.



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        terms of this Order to any other person or entity except as set forth in subparagraphs (1)-(5)

        below, and then only after the person to whom disclosure is to be made has executed an

        acknowledgment (in the form set forth at Attachment B hereto), that he or she has read and

        understands the terms of this Order and is bound by it. Subject to these requirements, the

        following categories of persons may be allowed to review documents which have been

        designated CONFIDENTIAL pursuant to this Order:

                (1)     counsel and employees of counsel for the parties who have responsibility for

                the preparation and trial of the lawsuit;

                (2)     parties and employees of a party to this Order but only to the extent counsel

                shall certify that the specifically named individual party or employee’s assistance is

                necessary to the conduct of the litigation in which the information is disclosed 2;

                (3)     court reporters engaged for depositions and those persons, if any, specifically

                engaged for the limited purpose of making photocopies of documents;

                (4)     consultants, investigators, or experts (hereinafter referred to collectively as

                “experts”) employed by the parties or counsel for the parties to assist in the preparation

                and trial of the lawsuit; and

                (5)     other persons only upon consent of the producing party or upon order of the

                court and on such conditions as are agreed to or ordered.

        c.      Control of Documents. Counsel for the parties shall take reasonable efforts to prevent

        unauthorized disclosure of documents designated as Confidential pursuant to the terms of this

        order. Counsel shall maintain a record of those persons, including employees of counsel, who



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                  At or prior to the time such party or employee completes his or her acknowledgment of
review of this Order and agreement to be bound by it (Attachment B hereto), counsel shall complete a
certification in the form shown at Attachment C hereto. Counsel shall retain the certification together with
the form signed by the party or employee.



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          have reviewed or been given access to the documents along with the originals of the forms

          signed by those persons acknowledging their obligations under this Order.

          d.      Copies.    All copies, duplicates, extracts, summaries or descriptions (hereinafter

          referred to collectively as “copies”), of documents designated as Confidential under this Order

          or any portion of such a document, shall be immediately affixed with the designation

          “CONFIDENTIAL” if the word does not already appear on the copy. All such copies shall be

          afforded the full protection of this Order.

          6.      Filing of Confidential Materials. In the event a party seeks to file any material that

is subject to protection under this Order with the court, that party shall take appropriate action to insure

that the documents receive proper protection from public disclosure including: (1) filing a redacted

document with the consent of the party who designated the document as confidential; (2) where

appropriate (e.g. in relation to discovery and evidentiary motions), submitting the documents solely

for in camera review; or (3) where the preceding measures are not adequate, seeking permission to file

the document under seal. Absent extraordinary circumstances making prior consultation impractical

or inappropriate, the party seeking to submit the document to the court shall first consult with counsel

for the party who designated the document as confidential to determine if some measure less restrictive

than filing the document under seal may serve to provide adequate protection. This duty exists

irrespective of the duty to consult on the underlying motion. Nothing in this Order shall be construed

as a prior directive to the Clerk of Court to allow any document be filed under seal. The parties

understand that documents may be filed under seal only with the permission of the court after proper

motion.

          7.      Greater Protection of Specific Documents. No party may withhold information from

discovery on the ground that it requires protection greater than that afforded by this Order unless the

party moves for an Order providing such special protection.




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       8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation is

subject to challenge. The following procedures shall apply to any such challenge.

       a.      The burden of proving the necessity of a Confidential designation remains with the

       party asserting confidentiality.

       b.      A party who contends that documents designated CONFIDENTIAL are not entitled to

       confidential treatment shall give written notice to the party who affixed the designation of the

       specific basis for the challenge. The party who so designated the documents shall have fifteen

       (15) days from service of the written notice to determine if the dispute can be resolved without

       judicial intervention and, if not, to move for an Order confirming the Confidential designation.

       c.      Notwithstanding any challenge to the designation of documents as confidential, all

       material previously designated CONFIDENTIAL shall continue to be treated as subject to the

       full protections of this Order until one of the following occurs:

               (1)     the party who claims that the documents are confidential withdraws such

               designation in writing;

               (2)     the party who claims that the documents are confidential fails to move timely

               for an Order designating the documents as confidential as set forth in paragraph 9.b.

               above; or

               (3)     the court rules that the documents should no longer be designated as

               confidential information.

       d.      Challenges to the confidentiality of documents may be made at any time and are not

       waived by the failure to raise the challenge at the time of initial disclosure or designation.

       9.      Treatment on Conclusion of Litigation.

       a.      Order Remains in Effect.         All provisions of this Order restricting the use of

       documents designated CONFIDENTIAL shall continue to be binding after the conclusion of

       the litigation unless otherwise agreed or ordered.


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       b.       Return of CONFIDENTIAL Documents.                    Within thirty (30) days after the

       conclusion of the litigation, including conclusion of any appeal, all documents treated as

       confidential under this Order, including copies as defined above (¶5.d.) shall be returned to the

       producing party unless: (1) the document has been entered as evidence or filed (unless

       introduced or filed under seal); (2) the parties stipulate to destruction in lieu of return; or (3) as

       to documents containing the notations, summations, or other mental impressions of the

       receiving party, that party elects destruction. Notwithstanding the above requirements to return

       or destroy documents, counsel may retain attorney work product including an index which

       refers or relates to information designated CONFIDENTIAL so long as that work product does

       not duplicate verbatim substantial portions of the text of confidential documents. This work

       product continues to be Confidential under the terms of this Order. An attorney may use his

       or her work product in a subsequent litigation provided that its use does not disclose the

       confidential documents.

       10.      Order Subject to Modification. This Order shall be subject to modification on motion

of any party or any other person who may show an adequate interest in the matter to intervene for

purposes of addressing the scope and terms of this Order. The Order shall not, however, be modified

until the parties shall have been given notice and an opportunity to be heard on the proposed

modification.

       11.      No Judicial Determination. This Order is entered based on the representations and

agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall be

construed or presented as a judicial determination that any specific document or item of information

designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c) of the South

Carolina Rules of Civil Procedure or otherwise until such time as a document-specific ruling shall have

been made.




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       12.     Persons Bound. This Order shall take effect when entered and shall be binding upon:

(1) counsel who signed below and their respective law firms; and (2) their respective clients.

       IT IS SO ORDERED.


November 10, 2021                                      Shiva V. Hodges
Columbia, South Carolina                               United States Magistrate Judge



WE SO MOVE AND CONSENT:

s/ Ryan C. Andrews
Ryan C. Andrews
Fed. I.D. No. 11748
Counsel for Plaintiff


s/ Robert D. Garfield
Robert D. Garfield
Fed. I.D. No. 7799
Steven R. Spreeuwers
Fed. I.D. No. 11766
Counsel for Defendants Richland County,
Sheriff Lott, Signorino, Free, Pearson, & Parker


s/ Scott J. Hayes
Scott J. Hayes
Fed. I.D. No. 12178
Counsel for Defendant Oliver




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                                   ATTACHMENT A
                      CERTIFICATION BY COUNSEL OF DESIGNATION
                          OF INFORMATION AS CONFIDENTIAL

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    COLUMBIA DIVISION

 Cierra Davis,                                                C/A No.: 3:20-cv-03799-MGL-SVH

                      Plaintiff,

 v.

 Richland County; Sheriff Leon Lott, in his                    CONFIDENTIALITY ORDER
 Official Capacity; Kyle Oliver, in his individual
 capacity; Casey Signorino; Jared Free; Michael
 Pearson; John Parker; and John Doe Deputies, in
 their respective individual capacities,

                     Defendants.


        Documents produced herewith [whose bates numbers are listed below (or) which are listed
on the attached index] have been marked as CONFIDENTIAL subject to the Confidentiality Order
entered in this action which Order is dated November 10, 2021.

        By signing below, I am certifying that I have personally reviewed the marked documents and
believe, based on that review, that they are properly subject to protection under the terms of Paragraph
3 of the Confidentiality Order.

       Check and complete one of the two options below.

       ❑         I am a member of the Bar the State of South Carolina. My Bar number is
                 _______________.

       ❑         I am not a member of the Bar of the State of South Carolina but am admitted to the bar
                 of one or more states. The state in which I conduct the majority of my practice is
                 __________________ where my Bar number is ____________. I understand that by
                 completing this certification I am submitting to the jurisdiction of the United States
                 District Court as to any matter relating to this certification.

Date: ____________________                                    _______________________
                                                               Signature of Counsel

                                                                _______________________
                                                               Printed Name of Counsel


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                                    ATTACHMENT B
                          ACKNOWLEDGMENT OF UNDERSTANDING
                              AND AGREEMENT TO BE BOUND

                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF SOUTH CAROLINA
                                       COLUMBIA DIVISION

 Cierra Davis,                                               C/A No.: 3:20-cv-03799-MGL-SVH

                      Plaintiff,

 v.

 Richland County; Sheriff Leon Lott, in his                   CONFIDENTIALITY ORDER
 Official Capacity; Kyle Oliver, in his individual
 capacity; Casey Signorino; Jared Free; Michael
 Pearson; John Parker; and John Doe Deputies, in
 their respective individual capacities,

                      Defendants.


        The undersigned hereby acknowledges that he or she has read the Confidentiality Order dated
November 10, 2021 in the above captioned action, understands the terms thereof, and agrees to be
bound by such terms. The undersigned submits to the jurisdiction of the United States District Court
in matters relating to the Confidentiality Order and understands that the terms of said Order obligate
him/her to use discovery materials designated CONFIDENTIAL solely for the purposes of the above-
captioned action, and not to disclose any such confidential information to any other person, firm or
concern.

         The undersigned acknowledges that violation of the Stipulated Confidentiality Order may
result in penalties for contempt of court.

                 Name:                  _________________
                 Job Title:             _________________
                 Employer:              _________________
                 Business Address:      _________________



Date: _________________                                      ____________________
                                                             Signature




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                                     ATTACHMENT C
                           CERTIFICATION OF COUNSEL OF NEED
                           FOR ASSISTANCE OF PARTY/EMPLOYEE

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                     COLUMBIA DIVISION

 Cierra Davis,                                                   C/A No.: 3:20-cv-03799-MGL-SVH

                      Plaintiff,

 v.

 Richland County; Sheriff Leon Lott, in his                        CONFIDENTIALITY ORDER
 Official Capacity; Kyle Oliver, in his individual
 capacity; Casey Signorino; Jared Free; Michael
 Pearson; John Parker; and John Doe Deputies, in
 their respective individual capacities,

                      Defendants.


       Pursuant to the Confidentiality Order entered in this action, most particularly the provisions of
Paragraph 5.b.2., I certify that the assistance of _________________is reasonably necessary to the
conduct of this litigation and that this assistance requires the disclosure to this individual of information
which has been designated as CONFIDENTIAL.

        I have explained the terms of the Confidentiality Order to the individual named above and will
obtain his or her signature on an “Acknowledgment of Understanding and Agreement to be Bound”
prior to releasing any confidential documents to the named individual and I will release only such
confidential documents as are reasonably necessary to the conduct of the litigation.

        The individual named above is:

        ❑        A named party;

        ❑        An employee of named party _________________. This employee’s job title is
                 _________________ and work address is _________________.



Date: _________________                                            _______________________
                                                                   Signature




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